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                                                              April 1, 2024

BY ECF

The Hon. Joanna Seybert
United States District Judge
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

                 Re:     United States v. Patrice Runner, No. 18 Cr. 578 (JS)


Your Honor:

        This office represents Patrice Runner. I respectfully submit this letter in connection with
Mr. Runner’s sentencing, which is scheduled for April 10, 2024, at 1:30 p.m. Attached for the
Court’s consideration are letters from Mr. Runner’s family, as well as certain customer responses
to the government’s investigative questionnaire.1

I.        PRELIMINARY STATEMENT

          The Court should sentence Patrice Runner to 60 months’ incarceration.

        The advisory Guidelines are not a reasonable benchmark for Mr. Runner’s sentence. The
government’s absurd proposed sentencing range—life imprisonment—is vastly inflated for a
familiar reason: the fraud Guideline’s irrational focus on loss amount as the principal driver of
punishment. That approach is particularly problematic here, where the jury verdict and the larger
record contradict the government’s assertion that every customer of Mr. Runner’s business
experienced loss. Because the government’s sole proposed loss estimate is provably wrong, and
three other proposed enhancements do not apply, the Guidelines should be disregarded.

        An alternative sentencing benchmark is readily available, namely, the sentences of
defendants comparable to Mr. Runner—including one whose case the government has called
“highly similar”—all of whom have received sentences of approximately 60 months or less.
Much longer sentences have largely been reserved for much more grave misconduct.


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    We anticipate one or two additional letters.
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         This is a very unusual fraud case, and not just because a substantial proportion of Mr.
Runner’s customers experienced no financial harm. In addition, any financial harm that did
occur was spread thinly across hundreds of thousands of individuals, the vast majority of whom
lost, at most, $40. Moreover, in the exceptional circumstances of this case, the personal impact
upon the customers—i.e., their disappointment that the promised astrology did not magically
improve their lives—is not something for which Mr. Runner is culpable. Fully lawful
astrological products would have had exactly the same impact. In sum, Mr. Runner’s business
had a substantial lawful component, the vast bulk of any financial harm was both diffuse and
minimal, and the emotional “harms” the government has elicited are a feature of astrology, not
fraud. A 60-month sentence would appropriately reflect these facts.

        At trial, the government was at pains to try to portray Mr. Runner as preying upon the
unusually vulnerable and motivated by greed. But this was not so. Rather, the government’s
own cooperating insider testified, in uncontradicted testimony, that the business targeted an older
demographic because those are the people who buy astrological products. There was no
evidence Mr. Runner knew anything personal about the customers, let alone that he targeted their
unusual vulnerability. Rather, Mr. Runner’s motivation was to give them what they wanted.
For better or for worse, he sold astrology because he felt he understood why people wanted it—
as a child, he, too, had been deprived of love, safety, and stability, and needed hope. As for the
money Mr. Runner made, his personal expenditures were largely for his children’s education and
his family’s travel—his consistent motivation was family, not greed.

        For more than three years, Mr. Runner has been subject to extraordinarily harsh
conditions of confinement at MDC Brooklyn. He has been confined to his cell for most of that
time, under conditions that district judges have accurately characterized as “dreadful” and
“inhumane.” He has been, and continues to be, deprived of critical medical care. For months at
a stretch, he has been denied the ability to communicate with his family, review the evidence
against him, or meaningfully participate in his own defense. He has already suffered more, by
all accounts, than our society accepts as punishment. In light of this fact alone, a 60-month
sentence would be sufficient to accomplish punishment, deterrence, and the other purposes of
sentencing.

II.    FACTUAL BACKGROUND
       A.      Mr. Runner’s Chaotic Adult Life Is Sourced In Childhood Abuse

        Patrice Runner has never been at peace. His adult life has been plagued by chronic drug
abuse, fractured personal relationships, and constant uprooting from place to place. He
experiences chronic anxiety. Permanently vigilant, he anticipates disaster at all times.

        This internal and external chaos is a continuation of what Mr. Runner experienced as a
child. His mother, Daina Drouilly, was abusive and mentally ill. When Mr. Runner and his
siblings were very young, Ms. Drouilly beat them regularly. She withheld their food, neglected
them, and often refused to let them go to school. Mr. Runner recalls his mother as a dangerous
stranger in the house: someone to watch out for, not someone to love or rely upon.



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         Mr. Runner has blocked out most of his own abuse. It is easier to recall examples of
what happened to his siblings. For example, when his sister was five years old, she wet the bed,
and Ms. Drouilly reacted by pushing her down the stairs. The child fell unconscious, but Ms.
Drouilly did not seek medical attention until the morning, when her brother learned what had
happened and insisted she call an ambulance. By then it was too late. The girl was in a coma for
months, and suffered permanent brain damage and paralysis. When she was later examined at
the hospital, doctors found microfractures all over her body from her mother’s beatings, and the
sister was removed from her mother’s care. The abuse still continued, however, whenever the
children were around their mother. Mr. Runner remembers eating dinner with his mother and
sister several years afterward. His mother had prepared artichokes, and the sister had a difficult
time eating them because her face and throat were partially paralyzed. Ms. Drouilly, enraged,
forced the girl to eat not just the edible pulp, but the entire, sharp leaves of the artichoke, until
the girl could not physically continue and had to leave the table. Mr. Runner’s sister eventually
died from her paralysis, after choking on food at a restaurant.

        Mr. Runner’s father was neglectful in a different respect: he abandoned the family when
Mr. Runner was young. What had been a hand-to-mouth existence for Mr. Runner with his
father in the picture—the PSR accurately reflects that the father sometimes had to steal food for
the family to eat—became an impoverished and abusive existence without him. Mr. Runner was
able to move in with his father after his mother’s abuse became unsustainable, but the father
moved often for work—relocating Mr. Runner to Haiti and France—and, even when physically
present, was an emotionally remote, pathological liar.

        Because Mr. Runner never had stable relationships as a child, he was never able to forge
them as an adult. His two marriages, for example, were turbulent—in some ways, his
relationships with his ex-wives are much more solid now than they were during the marriages
themselves. Mr. Runner’s friendships and professional relationships, too, go through unending
cycles of fracture and mistrust. He is profoundly lonely, and does not know how to feel
otherwise.

        Nor has Mr. Runner ever felt he had a home. His dangerous childhood with his mother
and his constant moving with his father meant that there was no place he felt safe or comfortable.
As a result, it felt unsafe to remain in one place as an adult—he and his family uprooted
frequently, and travelled nearly constantly. When Mr. Runner’s discomfort and loneliness
became too much to bear, he turned to drugs. He used cocaine and marijuana, principally, in
large quantities for decades. The drug use was frequent, intense, and regular. It was the clearest
manifestation of his profound internal distress.

       B.      Mr. Runner’s Only Stability Has Been His Children And His Career

       There have been two points of stability for Mr. Runner in this chaos.

         One has been his children, whom he has tried to provide with a much better childhood
than he experienced himself. For example, notwithstanding the government’s attempt to portray
his lifestyle as frivolously “lavish,” Mr. Runner’s main expenses for years were the education of
his sons Dylan and Axel, and ensuring that his sons remained with him while he travelled. For


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Mr. Runner, who, growing up, never had a safe home, had little in the way of stable formal
education, and never had anyone close to him, it was a priority for his own sons to have a
guarantee of all three.

        The attached letters of Mr. Runner’s ex-wife Karin Civitella and his son Axel corroborate
these priorities. Ms. Civitella writes that she acquiesced to Mr. Runner’s desire for a big, close
family with children—the opposite of what he grew up with. Both letters recount how the family
balanced the desire to travel with ensuring that the children received an excellent education.

        Mr. Runner is just as devoted to his younger children. As the PSR reflects, before Mr.
Runner’s arrest, he shared custody of those children and lived in Spain to be near them. It is a
point of pride for Mr. Runner that, unlike his own neglect as a child, he has spent his life
attending closely to all his children, and, despite the chaos of his own life, he has been able to
make their lives happy.

        The other source of stability in Mr. Runner’s life has been his work. Patrice Runner was
drawn to mail order marketing, and in particular the marketing of astrology, because he felt he
understood why people wanted it. As a child, he had no one to give him hope—for love, for
safety, for stability. He knew what it meant to feel alone in the world.

        Mr. Runner wanted to give people hope. To help them feel not alone, so they could have
the strength and support to help themselves, as he had helped himself. When he learned of the
market for astrological goods and services, it felt natural to devote himself to meeting that
demand.

       The government has portrayed Patrice Runner as greedy, cynical, and heartless. He is
none of those things. To be sure, the jury has determined that much of his astrological work was
fraudulent. But it also determined that much was not. Hundreds of thousands of customers,
hopeful for magic, came to Patrice Runner for astrological goods and service. Whatever one
might say about Mr. Runner’s motivations, it is undisputed that he spent years trying to help
them believe they were getting exactly what they wanted.

       C.      Much Of Mr. Runner’s Astrological Business Was Not Fraudulent

       The jury determined that a substantial proportion of Mr. Runner’s business was not
fraudulent. It acquitted Mr. Runner of four out of twelve charged substantive mail fraud counts:
Counts 4, 7, 11, and 13. (PSR ¶¶ 1-2). The acquittals related to customers who did not testify—
Jerome DiMarco (Count 4) and Manuel Sousa (Count 11)—and to customers who did—Farida
Beharry (Count 7) and Kathy Ervin (Count 13). (See Indictment at 9).

       Substantial corroborating evidence mirrors the jury verdict, insofar as it reflects that
many customers were not defrauded. Specifically, many customer responses to the
government’s investigative questionnaire reflect that those customers, in their own estimation, do
not consider all the money they paid to have been loss.




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       For example:

              Questionnaire of Timothy Coleman: reflecting $1,200 total paid, but answering
               “none” to the question “What was the financial or personal impact or hardship to
               you of paying money to Ms. Duval or Mr. Guerin?”

              Questionnaire of Myles Confrey: also answering “none” to that question; “100%
               responsible and 100% satisfied;” “very happy with each and every product”;

              Questionnaire of Robert Richardson: reflecting eight years of monthly payments;
               “no hardship, just entertainment”;

              Questionnaire of Bonnie Galiotto: answering “none” to the financial impact or
               hardship question, “because it was refunded when items were returned”;

              Questionnaire of Simon Nzuzi: financial impact: “none”;

              Questionnaire of Virginia Valenti: financial impact: “none”;

              Questionnaire of David Leonard: financial impact: “no”;

              Questionnaire of Phyllis Wiley: “Ms. Duval – Help me in many []ways and aware
               of awakening within me. Also Mr. Guerin. I had a lot of things going on with me.
               I thank them to the fullest.”

              Questionnaire of Barbara Conklin:“ Maria’s letters gave me more hope than my
               therapist did. Plus it was always my choice to deal with Maria.”

              Questionnaire of Christina Hayes: “I don’t have anything negative to say
               regarding Maria Duval or Patrick Guerin.”

              Questionnaire of Connie Epley: “I don’t have any issues with them or [their]
               company.”

              Questionnaire of Thomas Neary: “I spent about 400 dollars that I did not have to.
               . . . I have some trinkets amulets + medallions tarot cards I would rather not part
               with yet”;

              Questionnaire of Joyce Moody: “Some mailings were foolish, some mailings
               were predictions of future which have been correct so far.”

        These are just a tiny subset of the boxes and boxes of questionnaire responses in the
government’s possession. There are likely many more positive (or at least mixed) responses that
mirror the jury’s acquitted counts—even after dozens of hours of review, we have not been able
to go through all the boxes. Moreover, the responses themselves are an undercount of actual
customer attitudes with respect to loss, both because the questionnaire did not go out to every

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customer, and because a survey expert determined that the questionnaire itself was selectively
biased toward eliciting responses from people who would generate a response saying they had
suffered some harm (Tr. 1193-95, 1244).

        The trial record supplies yet more evidence that many, many more customers than merely
the ones relating to the four acquitted counts experienced no loss. For example, Mary Thanos,
the government’s own cooperating witness, testified at trial that it was her “understanding at the
time that the buyers bought because they liked the products,” and that customers wrote in
positive testimonials about their transactions which Thanos “believed . . . were true.” (Tr. 523-
27). Plentiful evidence at trial supported this testimony, showing that customers bought the
products repeatedly, and that they did so because they liked them. (See Rule 29 Motion at 2-8).
To be sure, the government countered that this satisfaction was unimportant, because all the
customers were secretly being defrauded. But the split verdict reflects that the jury did not
accept that argument as to all customers.

        D.      Mr. Runner’s “Inhumane” Conditions Of Confinement At MDC Brooklyn

        Mr. Runner has been incarcerated at MDC Brooklyn since his arraignment in December
2020. At that time, the facility was still in the grip of months-long COVID-19-related
lockdowns. Inmates were “secured in their assigned cells,” being allowed out only a few times a
week for 30 minutes to shower, communicate remotely with their attorneys, or review discovery.
See Letter of Warden H. Tellez to Chief Judge Roslynn R. Mauskopf, Jan. 14, 2021, at:
https://www.nyed.uscourts.gov/pub/bop/MDC_MCC_20210114.pdf.

        In the three years since, the MDC has reimposed lockdowns for weeks and months at a
stretch, in light of chronic short-staffing issues, repeated COVID-19 outbreaks, and rampant
security issues (including the deaths of multiple inmates). See, e.g., United States v. Dwight
Boyd, No. 21 Cr. 486 (SHS) (S.D.N.Y. Feb. 3, 2022), at 3 (“[D]uring the past several months, the
MDC and Essex have been hamstrung by staffing issues, quarantines due to COVID-19, and
lockdowns due to security issues. These lockdowns—which are continuing—make it impossible
for attorneys to visit their clients to prepare strategy . . . and attorneys have repeatedly reported to
this Court the difficulty of arranging for extended telephone calls with their clients to prepare for
upcoming conferences, pleas, trials, and sentencings.”); Memorandum of Warden S. Ma’at, Mar.
24, 2023, at 1 (“Recently, it has been difficult for many of you, due to the increase of weapons,
cellphones, drugs, and fights. . . . Therefore, this memo is declaring my decision to implement a
planned lock-down”); United States v. Gustavo Chavez, No. 22-CR-303 (JMF) (S.D.N.Y. Jan. 4,
2024), at 1-2 (citing “near-perpetual lockdowns (no longer explained by COVID-19), dreadful
conditions, and lengthy delays in getting medical care”).

        The prison has been a nightmare for Mr. Runner for many reasons, but a major one is the
fact that he has spent the majority of his pretrial detention confined within a tiny cell. See
Chavez, at 9-10 (“[C]onfining inmates to their cells is . . . tantamount to solitary or near-solitary
confinement, a practice that is increasingly viewed as inhumane.”). Near-solitary confinement
has been particularly hard on Mr. Runner because he, unlike most inmates in pretrial detention,
has been at MDC Brooklyn for over three years. In that time, he has endured months at a stretch
when he could only shower briefly three times a week, was unable to communicate with his


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family, had no hot food of any kind (sample lockdown menu: breakfast of cereal, apple, and
granola bar; lunch of one hot dog served cold, two potatoes, one cold egg; dinner of peanut
butter and jelly sandwich), and was unable to meet substantively with us or review his discovery.

       The length of Mr. Runner’s detention is a direct result of MDC dysfunction, which has
punished him for his decision to go to trial. As the Court will recall, discovery review was a
major problem in this case. It took months of effort by this office, the government, and this
Court before the MDC would accept a hard drive with even a limited quantity of discovery
documents. Even then, MDC staff often refused to let Mr. Runner review that drive in the
minimal time available. It was only in the months shortly before trial that Mr. Runner was given
anything like meaningful access to the full discovery in his case.

        Mr. Runner’s detention was particularly harsh in another respect as well: the shocking
disregard for his medical care. In mid-2022, Mr. Runner began to experience blood in his urine,
pain in his back, and dizziness. Despite dozens of sick calls, urgent pleas from this office, and an
order from this Court, it took more than a year before the MDC finally brought Mr. Runner to a
specialist in January 2024. That doctor could not determine the cause of his troubling symptoms,
but prescribed antibiotics to rule out an infection. The MDC has since refused to dispense those
antibiotics to Mr. Runner.

        That is hardly the only medical issue. For example, Mr. Runner requested the COVID-19
vaccine dozens of times since they became available. He did not receive it for two years, until a
court order finally mandated that he get it. No explanation was ever given. Mr. Runner has
contracted COVID-19 three times since his incarceration.

        In sum, even accounting for the “dreadful,” “inhumane” conditions at MDC Brooklyn for
the past three years, Mr. Runner’s own experience has been a nightmare.

III.   THE ADVISORY GUIDELINES SHOULD BE DISREGARDED IN THIS CASE

       A.      A Non-Guidelines Sentence Is Warranted

        A sentencing court is required to consider the factors set forth in 18 U.S.C. § 3553(a) in
determining a reasonable sentence in each individual case. See United States v. Booker, 543 U.S.
220 (2005); Gall v. United States, 552 U.S. 38, 49-50 (2007). Section 3553(a) directs that “[t]he
court shall impose a sentence sufficient, but not greater than necessary, to comply with the
purposes set forth in Section 3553(a)(2)],” which in turn sets forth that the applicable purposes
are:
        (A)    to reflect the seriousness of the offense, to promote respect for the law, and to
               provide just punishment for the offense;
        (B)    to afford adequate deterrence to criminal conduct;
        (C)    to protect the public from further crimes of the defendant; and
        (D)    to provide the defendant with needed education or vocational training, medical
               care, or other correctional treatment in the most effective manner.




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To arrive at such a sentence, the Court is further directed to consider these additional factors set
forth in Section 3553(a): (1) the nature and circumstances of the offense and the history and
characteristics of the defendant; (3) the kinds of sentences available; (4) the kinds of sentence
and the sentencing range established; (5) pertinent policy statements issued by the
Sentencing Commission; (6) the need to avoid unwarranted sentencing disparities among
similarly situated defendants; and (7) the need to provide restitution. In every case, the
sentencing court “must make an individualized assessment based on the facts presented.” Gall,
552 U.S. at 50.

        As is plain from the statutory structure, the Guidelines range is just one of several factors
set forth in Section 3553(a) that a district court must consider when imposing sentence. See also
Pepper v. United States, 131 S. Ct. 1229, 1241 (2011). A sentencing court thus “has broad
latitude to ‘impose either a Guidelines sentence or a non-Guidelines sentence.’” United States v.
Rigas, 583 F.3d 108, 114 (2d Cir. 2009) (citation omitted).

        The need for a non-Guidelines sentence is obvious in this case. The PSR calculates Mr.
Runner’s advisory Guidelines range to be imprisonment for life. (Paragraph 85). This is the
most serious non-capital punishment. It is reserved for the most serious crimes. Bernie Madoff,
El Chapo, Richard Reid, and Ramzi Yousef were all sentenced to life in prison. Whatever one
might think about Mr. Runner, his conduct was not in the same league. Mr. Runner did not wipe
out people’s savings accounts; he did not commit violence. To the contrary, as discussed below,
half of his customers spent, at most, $40, and the remainder spent, on average, $300. See Section
IV.A.2. Indeed, the jury determined that, as to a substantial proportion of customers the
government cherry-picked for trial, Mr. Runner committed no crime at all.

        Yet under the PSR’s proposed Guidelines, none of that matters. If adopted, Mr. Runner
would be treated equivalently to the perpetrator of billion-dollar Ponzi scheme, a narco-
trafficker, or a terrorist, based principally upon a wildly inflated estimate of loss amount. As
discussed below, that estimate is not reasonable, and the government has failed to prove by a
preponderance of evidence any reasonable alternative, despite several available candidates from
the sales data in its possession. Furthermore, it is well-established that the fraud Guideline’s
dependency upon loss enhancements is not rational. That is why the Second Circuit permits
courts to consider “whether the significant effect of the loss enhancement . . . should result in a
non-Guidelines sentence.” United States v. Algahaim, 842 F.3d 796, 800 (2d Cir. 2016).2




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  As a procedural matter, should the Court be inclined to accept the PSR’s proposed loss amount,
which is so enormous that it exposes Mr. Runner to a recommended penalty of life
imprisonment, the government should be required, under the Fifth and Sixth Amendments and
Apprendi v. New Jersey, 530 U.S. 466 (2000), to prove the fact of its proposed loss amount to a
jury beyond a reasonable doubt. See Alleyne v. United States, 570 U.S. 99, 103 (2013) (“any fact
that increases the penalty for a crime” must “be submitted to a jury, and proved beyond a
reasonable doubt”).

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        B.     The Proposed Loss Amount Is Not Reasonable

        The PSR maintains that Mr. Runner “is accountable for a total loss in excess of
$150,000,000,” resulting in a whopping 26-level enhancement to the applicable base offense
level of 7. (Paragraphs 34-35; see also Paragraph 44). For the following reasons, this figure
necessarily includes acquitted conduct, and is therefore not a “reasonable estimate” of loss.
U.S.S.G. § 2B1.1 cmt. n.3(C).3 The government has not put forward any of several reasonable
potential alternatives that could be derived the data in its possession. As a result, there is
insufficient grist in the sentencing record for anything like the proposed loss enhancement. A
non-Guidelines sentence should be imposed for this reason alone.

               1.     The Proposed Loss Estimate Fails To Account For Acquitted Conduct.

        The PSR’s loss estimate appears to be based on the evidence at trial that approximately
1.4 million customers paid approximately $175,000,000 to Mr. Runner’s business. (See GX 800
& 801). But the government has not proven by a preponderance of the evidence that that figure,
or anything close to it, constituted loss to customers who were victims.

        As discussed above, there was a substantial split verdict at trial. This reflects that,
contrary to the PSR’s assumption that the total amount paid by customers was fraud loss, the jury
determined that that was not so, and it did so with respect to four witnesses that the government
selected to try to establish they had been defrauded. (See Tr. 1367-68). As discussed above,
substantial evidence in the trial record supported the jury’s conclusion that much of the business
was not intended to be fraudulent and customers were satisfied. (Tr. 523-27; Rule 29 Motion at
2-8). Furthermore, the larger record contains affirmative evidence that many customers did not
suffer loss. As discussed above, many of the responses to the questionnaire the government sent
to Mr. Runner’s past customers reflected that those customers in their own estimation did not
consider all the money they paid to have been loss. The record therefore contradicts the PSR’s
assumption that every one of Mr. Runner’s customers suffered loss.

         The mail fraud acquittals present another problem with treating every dollar paid by the
customers as loss: in acquitting on some counts and convicting on others, the jury may have been
focused not on whether a given customer was defrauded, but on whether a given mailing was
fraudulent. That would mean that, in the jury’s view, no money spent on the promotions relating
to the acquitted counts could count as loss. The PSR’s proposed loss amount does not account
for this possibility.

       The Court should decline the PSR’s invitation to include acquittal conduct, and the larger
record of customers who avowedly did not experience harm, to increase the loss amount and thus
Mr. Runner’s potential sentence. The United States Sentencing Commission has proposed


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  As set forth in our objections to the PSR, these objections are not intended to waive our
threshold objection that any loss amount is incorrect. The defense maintains its objection to any
loss amount determination on the ground that the government failed to sufficiently allege in the
indictment or prove at trial that Mr. Runner intended his business to cause any legally cognizable
loss. (See DE 37 (Motion To Dismiss); DE 109 (Rule 29 Motion)).
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amendments to the Guidelines that would either prohibit using acquittal conduct outright at
sentencing, authorize a departure for it, or provide that the conduct can only be considered if it is
established by clear and convincing evidence (a standard, as discussed above, that the
government’s loss evidence has not met). See U.S. Sentencing Comm’n, Proposed Amendments
to the Sentencing Guidelines at 40-41 (Dec. 26, 2023).

        These amendments are almost certain to be adopted, or failing that, to be mandated by the
Supreme Court. Justice (then-Judge) Kavanaugh has testified before the Commission that
“acquitted conduct should be barred from the guidelines calculation.” Justice Thomas has
agreed, as have multiple former Justices across the ideological spectrum (including Justices
Scalia, Ginsburg, Kennedy, and Stevens), and Justices Gorsuch, Barrett, and Sotomayor have
expressed doubt that considering acquitted conduct to increase a sentence is constitutional. See
Congressional Research Service, “The Use of Acquitted conduct to Enhance Federal Sentences”
(Feb. 8, 2023) at: https://crsreports.congress.gov/product/pdf/LSB/LSB11037; see also Daniel J.
Freed, Federal Sentencing in the Wake of Guidelines: Unacceptable Limits on the Discretion of
Sentencers, 101 Yale L.J. 1681, 1714 (1992) (“Most lawyers, as well as ordinary citizens
unfamiliar with the daily procedures of criminal law administration, are astonished to learn that a
person in this society may be sentenced to prison on the basis of conduct of which a jury has
acquitted him, or on the basis of charges that did not result in conviction.”); United States v.
Vigil, 476 F. Supp. 2d 1231, 1311 (D.N.M. 2007) (concluding that a variance would promote
respect for the law more than a Guidelines sentence that was “substantially the result of conduct
for which the United States chose not to charge [the defendant] and twenty-three counts for
which [he] was acquitted”), aff'd, 523 F.3d 1258 (10th Cir. 2008).

               2.      The Government Fails To Justify Its Estimate Or Proffer An Alternative.

       The government fails to explain how the PSR’s loss estimate could possibly be
reasonable. It minimizes the acquittal conduct, and has no response to the questionnaires
showing customers who experienced no loss. Nor does it proffer any of several possible
reasonable alternatives.

        Instead, in its response to our PSR objections, the government contends that its loss
figure is conservative, because it does not incorporate payments between 1994 and 1999. But
the jury made no determination that the fraud harmed any customers so long ago—there is no
sales data for that time period, and no customer identified at trial made purchases in that time
frame. Nor, given the acquittals and the questionnaires cited above, does the mere fact that Mr.
Runner was convicted of conspiracy suffice to determine that every customer in the entire
charged time period experienced loss. “[T]he scope of conduct for which a defendant can be
held accountable under the Sentencing Guidelines is significantly narrower than the conduct
embraced by the law of conspiracy.” United States v. Getto, 729 F.3d 221, 234 n.11 (quoting
United States v. Perrone, 936 F.2d 1403, 1416 (2d Cir. 1991)); see also U.S.S.G. § 1B1.3
Application Note 2 (“[T]he scope of the criminal activity jointly undertaken by the defendant . . .
is not necessarily the same as the scope of the entire conspiracy.”). As we have explained, the
sentencing record is replete with customers who experienced no loss—because the government
has no explanation for why this would be, it has not shown that customers in the 1994 to 1999
time period were likely defrauded.


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         The government argues that its purported actual loss figure is reasonable because an
intended loss theory would result in a much bigger figure, indeed, “some billions of dollars.”
But this is no answer. Intended loss is hardly a reasonable metric for comparison. See United
States v. Banks, 55 F.4th 246 (3d Cir. 2022) (holding that fraud Guideline does not authorize
intended loss measure set forth only in commentary). Nor is it conceivable that the business was
ever intended to be so profitable—customers’ actual response rate year by year was a small
fraction of the number of promotions sent out. (See GX 800 [check]). The business could not
and did not reasonably intend every mailing sent obto result in payment.

        The government asserts that the fact that fraud need not be completed is sufficient to find
that “[a]ll of the victims who sent payments to Runner’s operation” experienced loss. This is
mistaken. Just because a jury found fraud does not mean it found loss. See United States v.
Schwartz, 924 F.2d 410, 420 (2d Cir. 1991) (“It need not be shown that the intended victim of the
fraud was actually harmed.”). It therefore does not follow from the mere fact of a fraud
conviction that any victim was harmed.

        Finally, the government protests that its only alternative to adding up every customer
payment is to “put more than one million victims . . . on the stand.” But actually it has several
reasonable alternatives. The government has at hand the entirety of the business’s OrderMotion
sales data. Using that data, it could, for example, discount all the promotions that the jury
determined were not material or that the questionnaires reflect were not considered by customers
to be loss. Or, it could come up with a proportion of satisfied to dissatisfied customers based
upon the split verdict and the questionnaires and average the loss to the dissatisfied portion. See
U.S.S.G. § 2B1.1 cmt. n.3(C)(iv) (providing that loss estimate can take into account “[t]he
approximate number of victims multiplied by the average loss to each victim”). It is not the
availability of reasonable alternatives that is the problem. It is the government’s unwillingness
to surrender its enormous proposed loss figure, and the 26-point enhancement that accompanies
it.

                                         *       *       *

        “Under the Sentencing Guidelines, for a loss enhancement to apply, the Government
bears the burden to prove both the existence and amount of the loss attributable to the offenses of
conviction.” United States v. Cuti, No. 08 CR. 972 DAB, 2011 WL 3585988, at *4 (S.D.N.Y.
July 29, 2011) (citing United States v. Williams, 247 F.3d 353, 358 n. 7 (2d Cir. 2001)). Without
any reasonable proffered loss estimate, the government has failed to meet its burden. The Court
therefore lacks a sufficient basis to apply the PSR’s proposed 26-point loss enhancement, or,
indeed, any other loss enhancement.

       This is a sufficient basis to decline to rely upon the fraud Guideline in this case.




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       B.      Three Other Proposed Enhancements Are Inapplicable

               1.      The U.S.S.G. § 2B1.1(b)(9)(C) Enhancement Does Not Apply.

       The PSR proposes a two-point enhancement for “a violation of any prior, specific judicial
or administrative order . . . not addressed elsewhere in the guidelines” pursuant to U.S.S.G.
§ 2B1.1(b)(9)(C), in light of Mr. Runner’s purported violation of a “final order” of the settled
2004 postal action. (PSR ¶ 37; see also id. ¶ 44).

        This enhancement does not apply. There is no competent evidence that Mr. Runner
violated the prior postal order. Certainly the settlement agreement is not such evidence: it makes
clear that there was no admission or concession of violation of law, and that it itself is not
evidence of any violation. (GX 400, at 116). Moreover, it was undisputed at trial that the Postal
Service never alleged breach of the agreement by Mr. Runner, the company, or anyone. (Tr.
667). To the contrary, the government’s own evidence at trial showed that Mr. Runner ordered
the business to comply with the final order, in that the business understood “the lead generators
had to be changed,” that Mr. Runner made those changes, and that “[t]he promotion in question
[was] stopped.” (Tr. 352).

        The government responds that Mr. Runner “was removed from the final order through a
misleading affidavit.” But so what? Much as the Postal Service may want to relitigate that issue
from 20 years ago, the question is whether Mr. Runner violated the order. There is insufficient
proof that he did.

        The government also claims generally that Mr. Runner “continued to use the same lies
and misrepresentations” before and after the cease and desist order was entered. But it cites no
promotion that violated the order. And it selectively omits the order’s key proviso that its
prohibitions applied only “in connection with any promotional materials sent through the mail to
recipients for whom Respondents possess no personal information other than name, address and
the fact that the recipient’s name and address appear on a particular mailing list.” (GX 400 at
123). As the Court will recall from the evidence at trial, the only such recipients were totally
new customers, i.e., the leads, whose names the business rented from lists (or print ads). Those
people were mailed the lead generators, and the customers who responded would send in
additional personal information (see PSR ¶ 19)—at that point, the order did not apply, because
the business now had far more information for its “in house” customers than merely the person’s
name and address and their membership on a list (see PSR ¶ 20).

       The government fails to distinguish between lead generators, some of which fell within
the scope of the order, and back-end mailings, which did not. It fails to show that any post-2006
lead generator was in violation of any paragraph of the cease and desist order. It fails to explain
its own cooperator’s testimony that the lead generators were duly changed in compliance with
the order. (Tr. 352). It therefore fails to establish that U.S.S.G. § 2B1.1(b)(9)(C) applies.




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               2.      The Two Vulnerable Victim Enhancements Do Not Apply.

        The PSR proposes two enhancements for a large number of vulnerable victims, for a
collective four points. (PSR ¶¶ 39-40). We neglected to object to these enhancements
previously, but we do so now.

        The PSR does not explain its position that Mr. Runner “knew or should have known the
victim of the offense was a vulnerable victim.” One assumes it is related to the PSR’s claim that
Mr. Runner “specifically targeted low-income and elderly persons.” (PSR ¶ 19). But neither of
these, without more, is a viable basis for the enhancement.

        For example, the mere fact that a person is elderly is not enough—what is required is a
demonstration that Mr. Runner knew or should have known that many recipients were
“unusually vulnerable due to age;” for example, the Guidelines commentary specifically
excludes the case of fraudulent mailings “to the general public” where “one of the victims
happened to be senile.” U.S.S.G. § 3A1.1 app. n.2 (emphasis added). Here, the evidence at trial
established Mr. Runner selected his recipients from lists, some of which could be restricted to
people in an older age bracket. But there was no evidence Mr. Runner knew or should have
known that doing so would target people who were senile, or even “elderly.” Indeed, one of the
government’s customer witnesses was 53 years old at the time of trial, another, Kathy Ervin, was
64. (Tr. 669; Tr. 110-11). Moreover, the evidence was that the market for psychic products and
services skewed older, so it made sense for the business to sell to that demand. (E.g., Tr. 1006-
14). Senility was not the point, the point was to meet a pre-existing demand by an older
customer demographic.

       As for customers being “low-income,” there is zero basis in the record to establish that
Mr. Runner knew or should have known that fact about his customers, let alone that they were
unusually low-income. It, too, is an insufficient basis for a vulnerable victim enhancement.

       C.      The Fraud Guideline’s Loss Enhancement Is Not Rational

       The advisory Guidelines should be given no weight at sentencing for an independent
reason: their focus on loss is not a rational basis for punishment.

       Pursuant to the fraud Guideline, U.S.S.G. § 2B1.1(b)(1), the PSR’s proposed loss amount
enhances Mr. Runner’s offense level from a base of 7 by 26 levels, to level 33. (PSR ¶¶ 34-35,
44). The enhancement increases Mr. Runner’s advisory sentencing range from 0-6 months to
135-168 months. In other words, loss amount is responsible for eleven to fourteen years of Mr.
Runner’s recommended punishment.

        When, as here, a loss amount figure drives such a large increase to a base offense level at
the bottom of the Guidelines sentencing chart, “that factor ‘entitles a sentencing judge to
consider a non-Guidelines sentence’ based upon a disagreement with the [United States
Sentencing] Commission’s ‘policy determination’ that loss should be the primary determinant of
punishment.” United States v. Burghardt, 702 Fed. App’x 4, 7 (2d Cir. 2017) (quoting
Algahaim, 842 F.3d at 800). Specifically, because making loss a principal determinant of


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sentencing “is an ‘unusual[]’ approach to culpability, ‘unknown to other sentencing systems,’”
the district court should “‘consider whether the cumulative effect of those enhancements,’ in
relation to the ... base offense level, should result in a non-Guidelines sentence.” Id.

        The flaws with the fraud Guideline’s loss enhancement approach are now well-
established. “The loss guideline . . . was not developed by the Sentencing Commission using an
empirical approach based on data about past sentencing practices.” United States v. Corsey, 723
F.3d 366, 377, 379-81 (2d Cir. 2013) (Underhill, J., concurring). Multiple amendments to the
loss table, none of which had empirical grounding, “have effectively multiplied several times the
recommended sentence applicable in 1987 for large-loss frauds, which itself was set higher than
historic sentences.” Id. at 380. The result is an enhancement that is “fundamentally flawed,
especially as loss amounts climb.” Id.; Kate Stith, The Arc of the Pendulum: Judges,
Prosecutors, and the Exercise of Discretion, 117 Yale L.J. 1420, 1476 n.235 (2008) (“[T]he
Guidelines’ ‘loss’-penalty tables appear to have been created out of whole cloth, without either
statutory or empirical basis. The great weight the Guidelines attached to quantity has been
devastatingly criticized, and nowhere explained.” (citations omitted)).

        Accordingly, there is a local judicial consensus that the loss Guideline should not be
followed when, as here, its enhancements elevate the sentencing range to the bottom of the chart.
See, e.g., United States v. Johnson, No. 16-CR-457-1 (NGG), 2018 WL 1997975, at *3
(E.D.N.Y. Apr. 27, 2018) (loss enhancement policy is a “grievous wrong,” and its “problems . . .
have been evident since the inception of the Guidelines”); United States v. Mair Faibish, No. 12
Cr. 265 (E.D.N.Y. Mar. 10, 2016) (Vitaliano, J.) (sentencing) (observing, like “a whole host of
judges who have said so publicly and scores of others who have . . . grumbled about it privately,”
that “the Guidelines even with its slight revisions, are mindlessly accelerated once you have
numbers of any size added in the loss or gain table”); United States v. Gupta, 904 F. Supp. 2d
349, 351 (S.D.N.Y. 2012) (Rakoff, J.) (“By making a Guidelines sentence turn, for all practical
purposes, on [loss enhancement], the Sentencing Commission ... effectively guaranteed that
many such sentences would be irrational on their face.”); United States v. Parris, 573 F. Supp.
2d 744, 745, 754 (E.D.N.Y. 2008) (Block, J.) (departing downward by 300 months from
advisory fraud Guidelines because “the Sentencing Guidelines for white-collar crimes [are] a
black stain on common sense”); United States v. Adelson, 441 F. Supp. 2d 506, 514-15
(S.D.N.Y. 2006) (Rakoff, J.) (decrying “the utter travesty of justice that sometimes results from
the Guidelines’ fetish with abstract arithmetic, as well as the harm that Guidelines calculations
can visit on human beings if not cabined by common sense”), aff’d, 301 F. App’x 93 (2d Cir.
2008); United States v. Emmenegger, 329 F. Supp. 2d 416, 427 (S.D.N.Y. 2004) (Lynch, J.) (the
amount of loss is a “relatively weak indicator of the moral seriousness of the offense or the need
for deterrence”).

        Moreover, the very long sentences driven by the loss table are far afield from what was
envisioned in creating the fraud Guideline in the first place, i.e., that “a short but definite period
of confinement might deter future [white-collar] crime more effectively than sentences with no
confinement condition.” Stephen Breyer, The Federal Sentencing Guidelines and the Key
Compromises Upon Which They Rest, 17 Hofstra L. Rev. 1, 22 (1988). “[T]here is considerable
evidence that even relatively short sentences can have a strong deterrent effect on prospective
‘white collar’ offenders.” Adelson, 441 F. Supp. 2d at 514; see, e.g., A. Mitchell Polinsky &


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Steven Shavell, On the Disutility and Discounting of Imprisonment and the Theory of
Deterrence, 28 J. Leg. Stud. 1, 12 (1999) (“less-than-maximal sanctions, combined with
relatively high probabilities of apprehension, may be optimal” in white collar context, where “the
disutility of being in prison at all may be substantial and the stigma and loss of earning power
may depend relatively little on the length of imprisonment”).

IV.    THE REMAINING § 3553(a) FACTORS WARRANT AT MOST 60 MONTHS
         Because in this case applicable the fraud Guideline “leads to a patently absurd sentence,
it is appropriate for the court to rely more heavily on the § 3553 factors.” See United States v.
Johnson, 2018 WL 1997975 at *4. Those factors warrant, at most, a sentence of 60 months’
imprisonment.

       A.      The Nature And Circumstances Of Mr. Runner’s Conduct

        Mr. Runner respects the jury’s verdict and this Court’s denial of his post-trial motions.
He understands that he must be sentenced pursuant to the determination that he committed fraud
and money laundering, and that a proportion of customers were victims. However, the nature
and circumstances of that conduct is substantially less grave than the government has portrayed,
in two respects that together warrant no more than 60 months’ imprisonment.

               1.      The “Victim Impact” Trial Testimony Does Not Warrant Punishment.

        The government introduced at trial many statements by customers about the impact of
Mr. Runner’s conduct upon their lives. For example, the witness customers testified that, despite
paying for the astrological products and services, they did not receive the real astrological
assistance they had hoped for. (See Def.’s Rule 29 Motion at 7-8). Unlike the financial harm to
customers who are determined to be victims, which is directly linked to Mr. Runner’s conduct of
conviction, see Section IV.A.2 infra, this broader “victim impact” testimony does not warrant
punishment.

        This is a very unusual case. As we have explained previously, we are aware of no other
recent prosecutions of fortunetelling speech simply because the speech was false, and not, for
example, where the false speech was joined with more standard indicia of fraud, like coercion
(e.g. curses or threats) or theft (e.g. larceny or misappropriation). (See Motion To Dismiss at 1-
3, 11). This rarity is due to a cultural shift in attitudes toward astrology and fortunetelling. As
we have demonstrated, our society no longer assumes, as it once did, that customers of astrology
are victims—to the contrary, they are now granted the autonomy to operate within a robust
market for fortunetelling speech that is protected by the First Amendment. (See id. at 2-3).

       Despite that cultural shift, we have, in this case, astrological speech being prosecuted
because it is false, i.e., because the astrology being sold is not real. Consider the testimony of
Farida Beharry, the very first customer witness, whom the government highlighted in its opening
statement. (Tr. 22-23). Ms. Beharry testified that she bought a vibratory crystal from Mr.
Runner’s business, but the crystal “didn’t work”—Maria Duval “said it would vibrate if you hold
toward the moonlight, and it never did.” (Tr. 58).


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       The government elicited from Mary Thanos the reason the crystals didn’t “work”:

       Q.      In your role as operations manager, did you make arrangements for any psychic to
               initialize and program these vibratory crystals?

       A.      No.

       ....

       Q.      In your capacity as operations manager, did you make any arrangements for a
               psychic to review these forms?

       A.      No.

(Tr. 340-41). Of course, these questions are ludicrous. It would have made no difference to
Farida Beharry if a psychic had programed the crystals and reviewed the forms, because psychic
powers are not real. Nonetheless, that is the fraud that was prosecuted here.

        The government has repeatedly protested that it is not policing astrological speech, and
that the falsities it has been focused on are more earthbound—whether the crystals came from
Paraguay, or whether the customer letters really went to Duval, for example. But as we have
explained, the customers consistently testified that the reason they wanted Duval and Guerin’s
products was the promise of getting some real magic to help them in their lives. (See Rule 29
Motion at 7-8). As a matter of victim impact, that is what was at stake for them. Obviously, if
the promise of real astrological assistance had been fulfilled, it would not matter to them if their
vibratory crystal was from Paraguay or Hong Kong, or if their letters went to Duval or DMG.

        We expect this impact to be a principal focus of the government at sentencing. As a
societal matter, however, it is not harm caused by any illegal conduct of Mr. Runner. Unlike the
payments by victims that have been determined by the jury and this Court to be harm, the impact
upon customers of their realization that promised astrology was not “real” astrology is an
inevitable part of even a lawful psychic bargain. As we have explained, that is no longer
something our society “protects” customers from. It is not something for which Mr. Runner
deserves punishment.

         To illustrate this point, consider the government’s own statement, in its rebuttal
summation, that it would have left Mr. Runner alone if he had only engaged Maria Duval, in
some remote location, to perform “the wors[t] séance ever done by a psychic, the shortest
clairvoyant sessions ever performed at the lowest quality,” in return for the customers’ money.
(Tr. 1392). Assume this statement is true, and Mr. Runner had done exactly that, and the
government had declined to prosecute because it viewed his conduct as non-criminal. Now
consider the impact of this hypothetical conduct upon the customers. Because astrology is not
real, the vibratory crystal still would not have worked, Ms. Beharry still would not have had
peace in her home, and all the other customers would still have failed to get what they really
wanted from the products.



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        In other words, on the government’s own theory, even if Mr. Runner’s conduct had been
lawful, the “victim impact” would have been the same. It therefore does not warrant punishment.

               2.     The Vast Bulk Of Any Financial Harm Was Diffuse And Minimal.

        As we have explained, the sentencing record reflects that a substantial proportion of
customers experienced no financial harm. But even if the government were somehow correct to
argue, as we expect it will, that the Court should estimate the financial harm as greater than $150
million, it is relevant for sentencing that any such harm was spread widely across hundreds of
thousands of individuals, the vast majority of whom experienced minimal loss.

        It was stipulated at trial that half the approximately 1.4 million customers of Mr.
Runner’s business bought just one product. (See DX AA-2). For these 696,711 people, a
conservative measure of their harm was the cost of the initial promotion, i.e., $40 at the most.
As for the remaining purchasers, even assuming (contrary to the jury verdict and the sentencing
record) that they were all victims, a conservative measure of their average loss was $311. (See
GX 801 (at 5,431,006 orders, an average of 7.7 orders each multiplied by the usual $40 price)).
To be sure, this is a material amount of money. But it does not spell poverty for anyone except
the very poor.

        The diffuse and minimal financial impact on the customers distinguishes this case from
fraud cases in which people’s savings accounts are wiped out, their credit is ruined, or their
identities stolen. In terms of victim financial impact, it more resembles large-scale frauds of
corporate entities, which then distribute the cost among many individuals in the form of slightly
increased payments (like higher premiums borne by customers of a defrauded health care
company).

        To the extent that any vulnerable victim can be shown to have been defrauded by Mr.
Runner and “as a result of the loss, bec[ame] unable to afford the necessities of life or medical
care,” that is “much more serious” and Mr. Runner should be punished accordingly. Corsey, 723
F.3d at 380 (Underhill, concurring). But the current sentencing record does not reflect such
victims. Rather, it resembles the much less serious result when a large amount of loss imposed
on “a large corporation able to absorb the financial consequences” by passing the costs along to
individuals who bear much smaller costs. See id.

       B.      The Need To Avoid Unwarranted Sentencing Disparities

         1.     Substantially similar defendants have received sentences of approximately 60
months or fewer. A principal example is in United States v. Weingold, 98 Cr. 483 (JWB)
(D.N.J.); see also United States v. Weingold, 844 F. Supp. 1560 (D.N.J. 1994). The government
has characterized Mr. Weingold’s conduct as “highly similar to the scheme at issue in this case,”
in that “the government prosecuted a scheme that involved mass market solicitations offering
psychic predictions promising specific amounts of money, lucky numbers to win the lottery, and
trinkets purporting to be religiously or spiritually significant.” (Gov’t Opp. To Mot. To Dismiss
16). Mr. Weingold was sentenced to 63 months’ imprisonment for this “highly similar” conduct.



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         Other comparable frauds involving far more grave harm to victims than Mr. Runner’s
have resulted in similar sentences. For example, in United States v. Lorindo Powell, No. 17 Cr.
311 (MKB), the defendant was sentenced to 51 months’ imprisonment for defrauding elderly
victims. The Guidelines range was 51-63 months, vastly smaller than Mr. Runner’s range
largely due to the difference in loss amount. Yet the government’s sentencing memorandum
observed that Powell “empt[ied] the bank accounts of her elderly victims” and “targeting the
financial cushions the relied on to keep them comfortable in their final years. Having gained
their trust, she not only stole their cash, but emptied their retirement accounts and got them
thrown out of their homes.”

        On the other hand, securities fraud and similar defendants who caused big-figure losses
borne largely by corporations, and thus ultimately diffused among many individuals, as in this
case, commonly receive 60-month sentences or less. For example, the two defendants in United
States v. Khalupsky, 15 Cr. 381 (RJD), were sentenced after trial 60 and 48 months. According
to the government, their scheme was to hack into business newswires, steal non-public financial
information, and then make trades generating $30 million in illegal profits. The Court varied
downwards from the Guidelines recommendation of 210 to 262 months and 135-168 months,
respectively. Similarly, this Court sentenced the defendant in United States v. Thomas Donovan,
No. 12 Cr. 196 (JS), to 55 months. He had stolen $31 million from Ficus Investments, Inc., had
faced prior civil liability for fraud. See also United States v. Naveed Khan, No. 16 Cr. 234
(BMC) (registered broker who received kickbacks for stock purchases and then laundered the
money sentenced to 24 months for fraudulent market manipulation scheme leading to a loss of
$131 million); United States v. Sahachaisere, No. 13 Cr. 452 (ENV) (coordinator of matched
trades and pump and dump scheme that fraudulently inflated stock value by $100 million
sentenced to 27 months after trial).

        2.     Higher sentences have generally been reserved for far more culpable defendants.
For example, United States v. Rose Marks, No. 11 Cr. 80072 (S.D. Fl. 2023), concerned the most
egregious psychic fraud in recent memory. Rose Marks was convicted at trial of personally
targeting a cancer victim and other vulnerable people, including those who were “suicidal” from
grief, persuading them they had curses upon them that only she could fix, and stealing millions
from them in money she represented would be used to help them. She stole $20 million from
one victim alone over the course of years. Her Guidelines range was 262-327 months; the judge
imposed a sentence of 121 months’ imprisonment.

       Even accepting the worst the government has said about Mr. Runner, his conduct was not
anything close. He did not personally target cancer victims or the grieving. He did not take
millions, or anything resembling millions, from individual people. And most importantly, his
psychic promotions did not cause customers to believe they had no choice but to pay him. A 60-
month sentence would adequately reflect these differences.

       As another comparator, in United States v. Mathew James, No. 19 Cr. 382 (JS), this
Court recently sentenced the defendant to 12 years’ imprisonment—10 years on the fraud counts
and two years consecutive on the aggravated identity theft. Mr. James, as the Court is aware,
was convicted after trial of what the government’s press release touted as a $600 million scheme,
and what its sentencing memorandum called “one of the largest health care frauds in the


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country.” The case involved hundreds of stolen identities, $63 million in personal gain to the
defendant (including “multiple” mansions, a “heated driveway,” and a red Ferrari). On every
measure, Mr. Runner’s case is not in the same ballpark. On comparison of loss amounts and
victim impact alone, a fraud sentence half as long is more than sufficient.

        We expect the government may use the relatively high sentences imposed on sweepstakes
fraud defendants as comparators for Mr. Runner. Sweepstakes defendants are not similarly
situated. Unlike psychic speech, which, as we have explained, often benefits the customer, or at
least does not impact them in a negative way that warrants punishment, sweepstakes fraud is
always fraud. There is no constitutional protection for “trick[ing] recipients in believing that
they had won money and that, in order to receive or claim this money, the recipient had to send
in a fee of $20 to $40,” when, “[i]n actuality, the recipients had not won any money or prize.”
United States v. Novis, No. 20-CR-335 (JMA), 2023 WL 4746541, at *1 (E.D.N.Y. July 24,
2023).

        3.      Statistics released by the United States Sentencing Commission for fiscal year
2022 reflect that a 60-month sentence would be an extraordinary punishment. See United States
v. Jenkins, 854 F.3d 181, 193 (2d Cir. 2017) (the “Commission’s statistics, which were readily
available to the district court at the time of sentencing, allow for a meaningful comparison of
[defendant’s] behavior to that of other . . . offenders”).

        In 2023, the mean sentence length for the primary offense category for fraud cases (not
counting probationary sentences) was 28 months. See U.S.S.C. 2022 Sourcebook of Federal
Sentencing Statistics, Table 15; at https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/annual-reports-and-sourcebooks/2023/Table15.pdf. In the previous fiscal year, in
the Second Circuit, there were 499 sentences in the primary offense category for fraud cases. Of
those, the mean sentence length was 20 months, and the median was 12 months. See United
States Sentencing Comm’n, Statistical Information Packet (FY2022: Second Circuit) (Table 7)
(chart reflecting the sentence length for each primary offense for the fiscal year 2022).

       The requested sentence would be more than double all those numbers.

       C.      Mr. Runner’s History And Characteristics

               1.     Mr. Runner’s Personal Motivations Do Not Warrant Punishment.

         Throughout trial, the government painted Mr. Runner as a cynical, greedy person,
seeking to extract profit from the elderly and spiritually credulous. But there was no evidence
that this was in fact his motivation.

        To be sure, Mr. Runner’s business, like all businesses, was intended to be profitable.
Moreover, there was evidence that the customer lists were selected at times for an older age
demographic. But that was where the market was. As government witness and company insider
Phil Lett testified, “[a]stro customers tended to be from an older demographic age wise,”
whereas “younger people weren’t as interested in astro.” (Tr. 1013-14). Accordingly, the
business targeted old people not because it sought to victimize them, but “because it was cheaper
to target the segment that was more receptive to astro.” (Tr. 1014).

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        There was no evidence at trial that Mr. Runner targeted customers who were unusually
vulnerable, or that he had personal knowledge of customer messages that came to the caging
services in response to the Duval and Guerin letters. To the contrary, as discussed above, Mr.
Runner was drawn to the marketing of astrology because he felt he understood why people
wanted it—like him, they were deprived of love, safety, and stability, and needed hope. Like all
astrology, the hope Mr. Runner sold was false, and the jury determined that some customers
were harmed by that. But others were not, and as to them, the most one can say of Mr. Runner is
that he succeeded in giving them what they wanted. See Section II.B supra.

        Finally, the evidence of the supposedly “lavish” lifestyle that Mr. Runner lived consisted
largely of his children’s education and his family’s travel. As we have explained, these have
been Mr. Runner’s longstanding priorities. While there is no good use for a victim’s money,
there has been no demonstration that he used it for venal purposes.

               2.     Mr. Runner’s Conditions Of Confinement Warrant Leniency.

       As discussed above, Mr. Runner has suffered over three years of exceptionally brutal
conditions at MDC Brooklyn, locked in his cell for the majority of that time with his urgent
medical care knowingly disregarded. This ordeal alone warrants extraordinary leniency.

        The appalling conditions at MDC Brooklyn are by now well known. Judge Furman
recently issued an opinion observing that the conditions there—including “near-perpetual
lockdowns (no longer explained by COVID-19), dreadful conditions, and lengthy delays in
getting medical care,” as well as “widespread” contraband and multiple inmate suicides—have
become such a “major, growing, and widely understood problem” that “it is routine for judges in
both [the Southern] District and the Eastern District to give reduced sentences to defendants
based on the conditions of confinement in the MDC.” United States v. Gustavo Chavez, No. 22-
CR-303 (JMF) (S.D.N.Y. Jan. 4, 2024), at 1-2 & n.6 (citing cases).

        Judge Furman was correct, reduced sentences are indeed routine for these reasons. See
also United States v. Juan Diaz, No. 23 Cr. 26 (S.D.N.Y. 2024) (Schofield, J.) (granting time
served sentence for distribution of fentanyl and remarking: “Under other circumstances, different
conditions in the prison system for medical treatment, both at the MDC and more broadly, I
would sentence you to a term of imprisonment; but I don't think that's appropriate, given the
circumstances and your medical conditions.”). Sentence reductions due to harsh conditions of
confinement were similarly the norm during the COVID-19 pandemic, when Mr. Runner was
first enduring his incarceration, even for defendants convicted of drug or violent offenses without
underlying medical conditions susceptible to COVID-19. E.g., United States v. Justin Nettles,
No. 20 Cr. 509 (KPF) (S.D.N.Y.) (downward variance by approximately 40 months in armed
robbery case); United States v. Jaime Gonzalez, No. 16-826 (Engelmeyer) (S.D.N.Y.)
(downward variance by 90 months in drug trafficking case); United States v. Victor Camacho,
No. 19 Cr. 389 (McMahon) (downward variance by 57 months in drug trafficking case)
(S.D.N.Y.); see also, e.g., United States v. Quannell Ricks, No. 20 Cr. 330 (KAM) (downward
variance by 37 months in gun trafficking case due to harsh MDC conditions during the
pandemic, among other factors).


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        In several respects, Mr. Runner’s experience has been among the worst I have witnessed
among clients detained at MDC. As discussed above, in light of his decision to go to trial in
such a document-heavy case, he has been detained far longer than most inmates, and therefore
has been subject to near-constant lockdowns, dreadful conditions, and endemic violence far
longer than most inmates. Moreover, the flagrant disregard for Mr. Runner’s medical care has
been reprehensible even by MDC standards. It took MDC staff well over a year to permit Mr.
Runner to see a doctor for the blood in his urine. They now still refuse to dispense the
medication that doctor has prescribed. It took them two years to give Mr. Runner a COVID-19
vaccine. One cannot avoid the impression that no one on staff would care if Mr. Runner died.

       Our society does not countenance such conditions. Mr. Runner has suffered far more
than he should have already. For this reason, too, a 60-month sentence is sufficient.

       D.      The Need For Deterrence

        Specific deterrence is not a consideration that warrants additional punishment in this
particular case. No human would wish to undergo again what Mr. Runner has already.
Moreover, Mr. Runner faces deportation to Europe when his sentence is over. Even if there
remained an American market for mail-order astrology (doubtful, in light of the rise of Internet-
based marketing), Mr. Runner would no longer be able to participate in it.

       As for general deterrence, we have already explained why sentences of approximately 60
months or less described above are the correct benchmarks. There is no evidence that a longer
period will have any greater deterrent effect. To the contrary, the available evidence is that even
a modest prison term achieves the necessary effect in this context. See supra Section III.C; and
see United States v. Gupta, 904 F. Supp. 2d 349, 355 (S.D.N.Y. 2012) (“[C]ommon sense
suggests that most business executives fear even a modest prison term to a degree that more
hardened types might not. Thus, a relatively modest prison term . . . is ‘sufficient, but not more
than necessary’ for [general deterrence] purposes.”).

                                         *       *      *
       The defense respectfully requests, at most, a 60-month term of incarceration.

                                                     Respectfully submitted,

                                                     /s James Darrow

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